      Case 2:19-cv-00678-MHT-JTA Document 20 Filed 08/03/20 Page 1 of 2




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


ZUFFA, LLC d/b/a Ultimate            )
Fighting Championship,               )
                                     )
       Plaintiff,                    )
                                     )          CIVIL ACTION NO.
       v.                            )            2:19cv678-MHT
                                     )                 (WO)
GEORGE HARVEY RUSSELL,               )
Individually, and d/b/a              )
CARL'S COUNTRY,                      )
                                     )
       Defendant.                    )

                                 JUDGMENT

      The court having been informed that this cause is

now settled, it is the ORDER, JUDGMENT, and DECREE of

the    court     that    this    lawsuit      is   dismissed      in      its

entirety with prejudice, with the parties to bear their

own costs and with leave to the parties, on or before

December 29, 2020, to stipulate to a different basis

for dismissal or to stipulate to the entry of judgment

instead of dismissal, and with leave to any party to

file, on or before December 29, 2020, a motion to have

the dismissal set aside and the case reinstated or the
   Case 2:19-cv-00678-MHT-JTA Document 20 Filed 08/03/20 Page 2 of 2




settlement      enforced,    should      the    settlement     not     be

consummated.

    The clerk of the court is DIRECTED to enter this

document   on    the    civil     docket   as    a   final    judgment

pursuant   to    Rule   58   of    the   Federal     Rules   of   Civil

Procedure.

    This case is closed.

    DONE, this the 3rd day of August, 2020.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE
